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                                                       8                       UNITED STATES DISTRICT COURT
                                                       9                     CENTRAL DISTRICT OF CALIFORNIA
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                                                      11 KIM DUNN, an individual,                Case No. 5:21-cv-00649 PA (SPx)
PAYNE & FEARS LLP




                                                      12              Plaintiff,                 Hon. Percy Anderson
               4 PARK PLAZA, SUITE 1100
               IRVINE, CALIFORNIA 92614




                                                      13        v.
                  ATTORNEYS AT LAW


                                     (949) 851-1100




                                                      14 CVS PHARMACY, INC., a Rhode             ORDER GRANTING JOINT
                                                         Island corporation; CVS HEALTH,         STIPULATION FOR DISMISSAL
                                                      15 INC., a Rhode Island corporation;       UNDER RULE 41(a)(1)(A)(ii) OF
                                                         GARFIELD BEACH CVS, L.L.C., a           THE FEDERAL RULES OF CIVIL
                                                      16 California limited liability company;   PROCEDURE
                                                         and DOES 1 through 50, inclusive,
                                                      17
                                                                      Defendants.
                                                      18
                                                                                                 Trial Date:   February 15, 2022
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                                                           [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL UNDER RULE
                                                                    41(a)(1)(A)(ii) OF THE FEDERAL RULES OF CIVIL PROCEDURE
                                             Case 5:21-cv-00649-PA-SP Document 25 Filed 12/06/21 Page 2 of 2 Page ID #:152




                                                       1         GOOD CAUSE APPEARING, the Court hereby approves the Joint
                                                       2 Stipulation of Parties and ORDERS:

                                                       3         1. The matter is hereby dismissed pursuant to Rule 41(a)(1)(A)(ii) of the
                                                       4 Federal Rules of Civil Procedure.

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                                                       6 DATED: December 6, 2021

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                                                       8                                                        Percy Anderson
                                                       9                                                   United States District Judge
                                                      10
                                                           Submitted by:
                                                      11 Daniel F. Fears, State Bar No. 110573
PAYNE & FEARS LLP




                                                           dff@paynefears.com
                                                      12 Andrew K. Haeffele, State Bar No. 258992
                                                           akh@paynefears.com
               4 PARK PLAZA, SUITE 1100
               IRVINE, CALIFORNIA 92614




                                                      13 Leilani L. Jones, State Bar No. 298896
                  ATTORNEYS AT LAW




                                                           llj@paynefears.com
                                     (949) 851-1100




                                                      14 PAYNE & FEARS LLP
                                                           4 Park Plaza, Suite 1100
                                                      15 Irvine, California 92614
                                                           Telephone: (949) 851-1100
                                                      16 Facsimile: (949) 851-1212

                                                      17
                                                           Attorneys for Defendants CVS PHARMACY,
                                                      18 INC. and GARFIELD BEACH CVS, LLC

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                                                           [PROPOSED] ORDER GRANTING JOINT STIPULATION FOR DISMISSAL UNDER RULE
                                                                    41(a)(1)(A)(ii) OF THE FEDERAL RULES OF CIVIL PROCEDURE
